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                           TENTATIVE RULING

                  ISSUED BY JUDGE LOUISE DECARL ADLER


Debtor:      ANTHONY LEO GRIL
Number:      21-00386-LA13

Hearing:     10:00 AM Wednesday, April 14, 2021

Motion:    1) OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN AND MOTION
TO DISMISS CASE. FILED BY DAVID L. SKELTON

Trustee's Objection to Plan Confirmations SUSTAINED. Unopposed. Plan denied
confirmation; case dismissed with 180 day bar to refiling. This is the second Ch. 13
case filed by debtor within the last year. He applied for and was denied an extension
of the automatic stay because of material misstatements in the schedules and plan for
his second case and failure to demonstrate changed circumstances. The debtor's lack
of candor has apparently continued post-filing as the Ch. 13 Trustee reports receipts
totaling in excess of $10,000 as refunds not scheduled by the debtor in his schedules.
His counsel has moved to withdraw because of debtor's lack of cooperation.

As this objection was unopposed, this hearing is vacated and appearances excused.
Counsel for debtor will be awarded the guideline fees for a consumer Ch. 13 case,
subject to funds on hand. Trustee directed to prepare order.




2) OBJECTION TO CONFIRMATION OF CH. 13 PLAN FILED BY US BANK TRUST, NA AS
TRUSTEE OF THE DWELLING SERIES IV TRUST FILED BY ADAM THURSBY.

Objection of U.S. Bank Trust, NA, to plan confirmation SUSTAINED. Unopposed.
See tentative ruling on trustee's objection to plan confirmation also posted for today's
calendar.

This hearing vacated as the plan objection was unopposed. Trustee has been directed
to prepare an order with a 180 day bar to refiling.
